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  7
  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10   DEVONTE STEPHENSON,                    Case No.: 5:21-cv-00526-JAK-KK
      individually and as successor in
 11   interest to Decedent LEROY             REPLY BY DEFENDANT JEFFREY
      STEPHENSON; LINDEN                     MCKEE TO PLAINTIFFS’
 12   STEPHENSON, individually and as        OPPOSITION TO MOTION FOR
      successor in interest to Decedent      SUMMARY JUDGMENT;
 13   LEROY STEPHENSON;                      DECLARATION OF LEE H.
      KEANDRE STEPHENSON,                    ROISTACHER; DECLARATION OF
 14   individually and as successor in       KIMBERLY SULLIVAN
      interest to Decedent LEROY
 15   STEPHENSON,
                                             Date:       November 6, 2023
 16               Plaintiffs,                Time:       8:30 a.m.
                                             Courtroom: 10B
 17          v.                              Judge:      John A. Kronstadt
                                             Mag. Judge: Kenly Kiya Kato
 18   STATE OF CALIFORNIA;
      COUNTY OF RIVERSIDE; DANE              Complaint Filed: March 24, 2021
 19   NOREM; JEFFREY MCKEE;                  Trial Date: None set
      MATT BORDEN; and DOES 1
 20   through 100, inclusive,
 21               Defendants.
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  1                              REQUEST FOR ADMISSIONS
  2          This Court should grant Officer McKee’s motion even if the Court does
  3    not deem his Requests for Admissions (RFAs) admitted. But McKee explains
  4    why this Court should not reward plaintiffs’ shenanigans and deem the matters
  5    admitted.
  6    McKee’s current counsel was told by McKee’s former counsel that an e-service
  7    agreement existed. Roistacher Decl., ¶ 3. Throughout current counsel’s
  8    involvement since February 2023, Doc. 47, no reason existed to believe an e-
  9    service agreement didn’t exist because all parties e-served all discovery. Id.
 10          Indeed, plaintiffs e-served deposition notices for defendants, including the
 11    deposition notice for McKee that was e-served on May 26, 2023 - five days
 12    before e-service of RFAs. Sullivan Decl., ¶ 5. And plaintiffs e-served responses
 13    to e-served discovery before the RFAs were e-served on May 31, 2023. Id.;
 14    Sullivan Decl., ¶¶ 4-5.
 15          Moreover, McKee’s counsel met and conferred when plaintiffs failed to
 16    timely respond to the RFAs. Sullivan Decl., ¶¶ 7-8. Plaintiffs’ counsel
 17    confirmed receipt of the RFAs and said responses would be provided in the next
 18    few weeks (though they never were). Id. Counsel neither questioned nor
 19    objected to e-service nor did he disclose not seeing the email serving the RFAs
 20    until after the time to respond passed. Id. Had he done the former, McKee would
 21    have reserved the RFAs. Id. And the latter is difficult to believe. The more
 22    reasonable explanation is that he saw them but forgot about them.
 23          After new counsel for plaintiffs appeared in early August 2023, Doc. 55,
 24    McKee’s counsel met and conferred with him by phone on August 17, 2023
 25    about this motion and advised him of the unanswered RFAs. Roistacher Decl., ¶
 26    4. He was surprised and said he would investigate the matter. Id. The issue of
 27    e-service was not raised by plaintiffs’ counsel until September 27, 2023. Id.
 28    ///
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  1          All of this distinguishes the situation here from those in the cases plaintiffs
  2    cite. Indeed, plaintiffs’ conduct equitably estops them from contesting the e-
  3    service of the RFAs. Wong v. Flynn-Kerper, 999 F.3d 1205, 1211 (9th Cir.
  4    2021) (defining equitable estoppel); In re Hoopai, 581 F.3d 1090, 1097 (9th Cir.
  5    2009) (defining judicial estoppel); Tozzi v. Lincoln Nat. Life Ins. Co., 103 F.2d
  6    46, 52 (9th Cir. 1939) (defining quasi-estoppel); see Albertson v. Winner Auto.,
  7    2004 U.S. Dist. LEXIS 21859, at *13 (D. Del. Oct. 27, 2004) (parties conduct in
  8    litigation regarding e-service estopped party from arguing no written agreement
  9    to e-service); Day & Zimmerman, Inc. v. Sec. Operations Consulting-Sec. Mgmt.
 10    Grp., 2012 U.S. Dist. LEXIS 151222, at *16 (E.D. Pa. Oct. 22, 2012) (finding
 11    electronic service effective in absence of written agreement based on party
 12    conduct); Salley v. Bd. of Governors, Univ. of N.C., 136 F.R.D. 417, 420-21
 13    (M.D.N.C. 1991) (applying estopped to fax service); Donaldson v. Normand,
 14    2023 U.S. Dist. LEXIS 39088, at *41 (S.D. Ga. Feb. 8, 2023) (“Courts typically
 15    do not entertain ‘frivolous or technical objections based on a litigant's
 16    noncompliance’ with Rule 5.”) (quoting Wright & Miller, 5 Fed. Prac. & Proc.
 17    Civ. § 1141 (4th ed.)).
 18          Moreover, written “[c]onsent is required” for e-service because in 2001 “it
 19    [was] not yet possible to assume universal entry into the world of electronic
 20    communication.” Fed. R. Civ. P. 5, Advisory Committee Notes to 2001
 21    Amendments. That concern does not remotely exist today.
 22          Regardless, the rule requiring a written agreement for e-service doesn’t
 23    exist to allow plaintiffs to take advantage of e-service when it suits them and
 24    then use the absence of a written agreement when it suits them after confirming
 25    receipt and confirming responses would be provided. Nor does it exist to allow
 26    plaintiffs to lie in wait to raise a never-raised objection to e-service when it
 27    benefits them. It is obvious the absence of a written agreement for e-service is
 28    not the reason responses were never provided.
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  1                   ABSENCE OF DISPUTED MATERIAL FACTS
  2          Only genuine disputes over material facts preclude summary judgment.
  3    Fed. R. Civ. P. 56(a). “[A]ny disagreement or ‘metaphysical doubt’ about a
  4    material issue of fact does not.” Arroyo Escondido, LLC v. Balmoral Farm, Inc.,
  5    2021 U.S. Dist. LEXIS 157111, at *4 (C.D. Cal. Aug. 19, 2021) (quoting Celotex
  6    Corp. v. Catrett, 477 U.S. 317, 322-23 (1986)). “Nor will uncorroborated
  7    allegations and ‘self-serving testimony’ create a genuine issue of material fact.”
  8    Id. “A disputed fact is material where the resolution of that fact might affect the
  9    outcome of the suit under the governing law, and the dispute is genuine where
 10    the evidence is such that a reasonable jury could return a verdict for the
 11    nonmoving party.” Id. at * 1.
 12          Plaintiffs’ additional Fact 30, which they apparently believe is vital to their
 13    liability theory, intentionally misrepresents McKee’s testimony stating: “After
 14    getting out of his vehicle, McKee immediately took control of Stephenson’s legs;
 15    they were in scissor formation, he moved them into a figure four and pressed
 16    them into Stephenson’s backside.” Doc. 66, pp. 6-7 (citing Exh G, McKee
 17    Depo., p. 24:1-8) (emphasis added)).
 18          That badly misstates McKee’s testimony: “I believe I took control of Mr.
 19    Stephenson's legs. They were initially in, I believe, like a scissor like a scissor
 20    formation on the ground, and I placed them into a figure four.” Exh G, McKee
 21    Depo., p. 24:1-8) (emphasis added). McKee categorically did not say he pressed
 22    Leroy’s legs into his backside.
 23          McKee’s testimony is confirmed by the MVARS showing McKee
 24    grabbing Leroy’s legs and pushing them outward and down to the ground at 45-
 25    degree angles, and then placing his knees on the legs that were on the ground.
 26    Exh. C, 11:42-11:47. This renders plaintiffs’ Fact 31 misleading as well.
 27          McKee’s MVARS shows what it shows. To the extent the parties have
 28    different interpretations of what it shows, this Court can certainly decide on its
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  1    own. Any purported dispute of fact regarding Officer Norem’s interaction with
  2    Leroy are immaterial to McKee’s summary judgment motion. Any attempt to
  3    dispute what McKee believed or perceived with evidence other than McKee’s
  4    testimony does not create a dispute. “Disputes” over language used in describing
  5    a fact is not a dispute but simply plaintiffs’ characterization of the evidence; the
  6    evidence remains the evidence. And disputes do not exist without admissible
  7    evidence; arguments cannot create disputes of fact. Thus, there is no genuine
  8    issue of material fact.
  9         QUALIFIED IMMUNITY ON 42 U.S.C. SECTION 1983 CLAIMS
 10          McKee addresses two preliminary issues.
 11          First, seriously flawed is plaintiffs’ argument on “failure to intervene” or
 12    “integral participant” theories of liability. Conceding neither appear in the
 13    complaint, plaintiffs argue “the law does not require the use of the exact words
 14    ‘integral participant’ or ‘failure to intervene,’ rather, courts look to the
 15    underlying factual allegations in the complaint and whether they meet the
 16    elements of the claim.” Doc. 65, p. 14.
 17          Plaintiffs cite no authority for their asserted legal proposition or identify
 18    any factual allegations in the complaint that “meet the elements of the claim.”
 19          The truth is the complaints’ allegations regarding McKee are extremely
 20    limited and specific. Doc. 1, p. 14 ¶ 27. Nothing in the complaint (or any
 21    discovery response) puts McKee on notice of a Fourth Amendment claim for
 22    anything other than excessive force. Id., pp. 9-21. Allowing plaintiffs to do so
 23    now is fundamentally unfair to McKee given he did not brief these theories in his
 24    motion.
 25          Second, plaintiffs’ assertion that McKee did not raise qualified immunity’s
 26    “clearly established” second prong, Doc. 65, pp. 20, 25, is patently wrong. Doc.
 27    64-1, pp. 17, 21. If plaintiffs argue McKee had to cite authority showing the law
 28    was not clearly established, that is also wrong and gets the burden backwards.
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  1    McKee need only point out the absence of case law, which he did because
  2    “[p]olice officers have qualified immunity for their official conduct unless” a
  3    plaintiff meets his burden of establishing, in addition to the constitutional
  4    violation, clearly established law. McKee West v. City of Caldwell, 931 F.3d
  5    978, 982-83 (9th Cir. 2019) (emphasis added); Felarca v. Birgeneau, 891 F.3d
  6    809, 815 (9th Cir. 2018) (plaintiff has burden on both elements of qualified
  7    immunity); see Fairbank v. Wunderman Cato Johnson, 212 F.3d 528, 532 (9th
  8    Cir. 2000) (a defendant can satisfy its summary judgment burden through
  9    argument).
 10    A.    Fourth Amendment
 11          Because the incident involving Leroy involved multiple people, it is
 12    critical to segregate McKee’s conduct because a proper qualified immunity
 13    analysis is “individualized” requiring “a court [to] carefully examine the specific
 14    factual allegations against each individual defendant.” Cunningham v. Gates,
 15    229 F.3d 1271, 1287 (9th Cir. 2000); K.J.P. v. City of Santee, 748 F. App'x 133,
 16    134 (9th Cir. 2019) (remanding denial of qualified immunity because “the
 17    district court did not conduct an individualized assessment of the conduct of each
 18    of the various defendants in their myriad roles. Rather than ‘examine the specific
 19    factual allegations against each individual defendant,’ [citation], the district court
 20    concluded that the plaintiffs had raised triable issues of fact regarding whether
 21    the aggregate conduct of the twelve deputies constituted excessive force ....”);
 22    see also Alcocer v. Mills, 906 F.3d 944, 951 (11th Cir. 2018) (“[E]ach defendant
 23    is entitled to an independent qualified-immunity analysis as it relates to his or her
 24    actions and omissions.”).
 25          Thus, this Court must focus specifically on what McKee’s conduct to
 26    determine whether it violated the Fourth Amendment and not the collective
 27    actions of all those involved in the interaction with Leroy.
 28    ///
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   1   1.    No violation
   2         Relying on Smith v. City of Hemet, 394 F.3d 689, 705-07 (9th Cir. 2005),
   3   plaintiffs argue deadly force is any force creating a substantial risk of death or
   4   serious bodily injury. Plaintiffs then rely on Drummond v. City of Anaheim, 343
   5   F.3d 1052 (9th Cir. 2003), Greer v. City of Hayward, 229 F. Supp. 3d 1091
   6   (N.D. Cal. 2017) and Garlick v. Cty. of Kern, 167 F. Supp. 3d 1117 (E.D. Cal.
   7   2016) for the proposition that prolonged body weight to the back of a prone and
   8   agitated handcuffed suspect constitutes deadly force due to the risk of positional
   9   asphyxiation.
  10         Though these cases are supportive of plaintiffs’ proposition, they are
  11   inapposite. None hold prolonged body weight to the back of a prone and agitated
  12   handcuffed suspect always constitutes deadly force.
  13         And, critically, none involved an officer, like McKee, using a control hold
  14   on a suspect’s legs for 18 seconds at the very end of an incident. See
  15   Cunningham, 229 F.3d at 1287; K.J.P., 748 F. App'x at 134. It is undisputed that
  16   McKee never put any weight on Leroy’s back. And as explained before, McKee
  17   did not push Leroy’s legs into his backside. McKee did not use deadly force.
  18         Also, unlike here, in Drummond, 343 F.3d at 1055, Greer, 229 F. Supp. 3d
  19   at 1099 and Garlick, 167 F. Supp. 3d at 1139 there was evidence of death caused
  20   by positional asphyxiation. Here, plaintiffs present no evidence that Leroy died
  21   from positional affixation resulting from any officers’ conduct, much less
  22   McKee’s 18 second control hold on Leroy’s legs. Indeed, it is undisputed that
  23   Leroy died from methamphetamine intoxication.
  24   2.    Absence of clearly established law
  25         McKee recognizes plaintiffs’ cases stand for the proposition that “[t]he
  26   [Ninth] Circuit repeatedly has held, and district courts repeatedly have found, the
  27   law is clearly established ‘that multiple officers' alleged use of prolonged body-
  28   weight pressure to a suspect's back was known to be capable of causing serious
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   1   injury or death.’” Garcia v. Yuba Cty. Sheriff's Dep't, 2023 U.S. Dist. LEXIS
   2   73943, at *38 (E.D. Cal. Apr. 26, 2023) (citing cases).
   3         But, critically, in all the cases plaintiffs cite the officers denied qualified
   4   immunity used prolonged body weight pressure on the suspect’s back. McKee
   5   did not. See Cunningham, 229 F.3d at 1287; K.J.P., 748 F. App'x at 134.
   6   B.    Fourteenth Amendment
   7   1.    No violation
   8         Plaintiffs argue “Officer McKee is not entitled to qualified immunity for
   9   his use of excessive force in violation of the Fourteenth Amendment.” Doc. 65,
  10   p.22:8-9 (emphasis added). Excessive force in violation of the Fourteenth
  11   Amendment was the fifth claim for relief that plaintiffs dismissed. See Doc. 1, p.
  12   19 (complaint); Doc. 62 (order).
  13         Regardless, “the deliberate-indifference test applies if the situation at issue
  14   ‘evolve[d] in a time frame that permits the officer to deliberate before acting’”
  15   and “[d]eliberation in this context ‘should not be interpreted in the narrow,
  16   technical sense.’” Ochoa v. City of Mesa, 26 F.4th 1050, 1056 (9th Cir. 2022).
  17   “Deliberation is not possible if the officers ‘encounter[ed] fast paced
  18   circumstances presenting competing public safety obligations.’” Id. That clearly
  19   existed here and plaintiffs do not dispute the absence of conduct by McKee
  20   intending to harm Leroy unrelated to a legitimate law enforcement objective.
  21   See A. D. v. Cal. Highway Patrol, 712 F.3d 446, 453 (9th Cir. 2013).
  22         Recognizing McKee cannot be liable under the “purpose to harm”
  23   standard, plaintiffs argue the “deliberate indifference” standard applies because
  24   there was no “‘snap judgment’” to “use deadly force” in “reaction to an
  25   unforeseen escalation by the subject.” Doc. 22, p. 22:22-24 (citing Hayes v.
  26   Cnty. of San Diego, 736 F.3d 1223, 1230 (9th Cir. 2013)).
  27         As already explained, McKee did not use deadly force. And Hayes did not
  28   hold “snap judgments” warranting the purpose to harm test exist only when
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   1   reacting to an escalation by a subject. Hayes, 736 F.3d at 1230. Hayes simply
   2   accepted the officers’ decision to use deadly force was a “snap judgment”
   3   prompted by the suspect grabbing a knife. Id.
   4         No case has ever held that a “snap judgment” is literally a “snap
   5   judgment.” See Ochoa, 26 F.4th at 1056. Indeed, McKee cited several cases in
   6   his moving papers where courts concluded deliberation was not practical despite
   7   events lasting 5 and 6 minutes. McKee’s involvement lasted 18 seconds.
   8   2.    Plaintiffs cite no clearly established law
   9         Plaintiffs cite a single unpublished decision dealing with excessive force
  10   under the Fourth Amendment, Tucker v. Las Vegas Metro. Police Dep't, 470 F.
  11   App'x 627 (9th Cir. 2012). Assuming a single unpublished case constitutes
  12   clearly established law, Fourth Amendment cases do not satisfy the “clearly
  13   established” component of qualified immunity for a Fourteenth Amendment
  14   claim. Nicholson v. City of Los Angeles, 935 F.3d 685, 696 (9th Cir. 2019);
  15   Perkins v. Edgar, 2022 U.S. App. LEXIS 29926, at *5-6 (9th Cir. Oct. 25, 2022)
  16   (unpub.); see also Barrera v. City of Woodland, 2023 U.S. Dist. LEXIS 102612,
  17   at *10-11 (E.D. Cal. June 12, 2023) (“Because the standards are different and
  18   because a familial association claim requires a further subjective inquiry, the
  19   Court holds that an excessive force case under the Fourth Amendment does not
  20   put an officer on notice that his conduct may violate a plaintiff's right to familial
  21   association under the Fourteenth Amendment.”); Gonzalez v. City of Alameda,
  22   2023 U.S. Dist. LEXIS 169602, at *82 (N.D. Cal. Sep. 22, 2023) (Fourth
  23   Amendment excessive force cases cannot constitute clearly established law for
  24   Fourteenth Amendment claims).
  25   ///
  26   ///
  27   ///
  28   ///
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   1               SUMMARY JUDGMENT ON STATE LAW CLAIMS
   2   A.    Negligent Use Of Force
   3         Plaintiffs agree their negligence claim is the same as the Fourth
   4   Amendment claim. Doc. 65, p. 23:20-22. Because there is no Fourth
   5   Amendment violation, there is no negligence liability for McKee’s use of force.
   6   B.    Plaintiffs Cannot Pursue Alternative Theories Of Negligence
   7         Plaintiffs want to pursue negligence claims based on: (1) failing to
   8   intervene; (2) having a citizen sit on Leroy’s legs; (3) delay in providing medical
   9   assistance; and (4) failing to identify and question a witness. Plaintiffs abandon
  10   the last one, but wrongly maintain they can pursue the others. Doc. 65, p. 25:7-8.
  11         Preliminarily, plaintiffs cite no California authority recognizing the
  12   negligence liability theories despite McKee raising the issue. This Court can
  13   treat this failure as plaintiffs conceding they do not exist. See Shakur v. Schriro,
  14   514 F.3d 878, 892 (9th Cir. 2008) (litigants waive arguments by failing to raise
  15   them in opposition to motion); Lombana v. Green Tree Servicing, LLC, 2015
  16   U.S. Dist. LEXIS 87434, at *11 (C.D. Cal. June 29, 2015) (“‘As a rule, a
  17   plaintiff's failure to address a defendant's arguments for dismissal ‘constitutes
  18   abandonment of [those] claim[s].’”). Nor do plaintiffs address McKee’s
  19   argument that his conduct was not grossly negligent and thus is immune for any
  20   delay in providing medical care under California Health & Safety Code §
  21   1799.106.
  22         Assuming these claims are legally viable under California negligence law,
  23   plaintiffs cannot maintain them for two reasons. First, plaintiffs do not allege
  24   them in the complaint. Again, plaintiffs point to no allegations in their complaint
  25   supporting these claims. Second, as thoroughly briefed in the moving papers,
  26   plaintiffs failed to include the factual basis for these claims in their California
  27   Government Code claim. Plaintiffs don’t even try to argue otherwise. See Doc.
  28   65, p. 19:27-28 (“The claim and complaint both put the State on notice that both
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   1   Officer McKee and Officer Norem used excessive force against Stephenson ....”)
   2   (emphasis added).
   3
   4   Dated: October 16, 2023                     Dean Gazzo Roistacher LLP
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   6
                                            By: /s/ Lee H. Roistacher
   7
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   8                                             Kimberly A. Sullivan
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